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1    Malcolm Segal (SBN 075481)
2
     Emily E. Doringer (SBN 208727)
     SEGAL & ASSOCIATES, PC
3    400 Capitol Mall, Suite 2550
     Sacramento, CA 95814
4    Telephone: (916) 441-0886
5    Facsimile: (916) 475-1231
     msegal@segal-pc.com
6    edoringer@segal-pc.com
7
     Attorneys for Defendant
8    DUMITRU MARTIN
9
                                      UNITED STATES DISTRICT COURT
10
                                    EASTERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA,                                     Case No: 2:15-CR-00235 TLN
13
                            Plaintiff,                             STIPULATION AND ORDER
14                                                                 REGARDING SENTENCING AND FOR
     v.                                                            ISSUANCE OF SCHEDULE FOR
15                                                                 DISCLOSURE FOR PRESENTENCE
                                                                   REPORT
16   DUMITRU MARTIN,
17
                       Defendant.
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21           Defendant Dumitru Martin, by and through his counsel of record, Malcolm
22   Segal, Segal & Associates, PC and Plaintiff United States of America, by and
23   through its counsel of record, Assistant United States Attorney Todd Pickles,
24   hereby stipulate as follows:
25           1.        A sentencing hearing is scheduled in this matter for December 1,
26   2016 at 9:30 a.m. (Dkt #166).
27           2.        By this stipulation, the parties agree that the sentencing hearing be
28   continued January 26, 2017 at 9:30 a.m., or any time thereafter convenient to the
                                                                    1
                  Stipulation and Order Re Sentencing & For Issuance of Schedule for Disclosure for Presentence Report
           Case 2:15-cr-00235-TLN Document 208 Filed 10/07/16 Page 2 of 4


1    Court. The defendant has requested the change of the sentencing date in order to
2    permit counsel, who recently joined the defense, to review the files and record in
3    the case and become fully prepared to proceed with the hearing on the date to
4    which it will be rescheduled. Defendant also wishes to bring information and
5    materials to the attention of the United States Probation Department, through the
6    undersigned counsel, in order to assist in the preparation of the presentence
7    report. The government agrees to the appropriateness of continuing the
8    imposition of Judgment and Sentence for that purpose.
9             3.        By this stipulation, the parties request that the schedule for disclosure
10   of Presentence Report and for filing of objections to the Presentence Report be
11   modified to give all parties more time to prepare the Presentence Report, as
12   follows:
13                      a.        The Proposed Presentence Report shall be disclosed to
14   counsel no later than December 15, 2016;
15                      b.        Counsel’s written objections to the Presentence Report shall be
16   delivered to the Probation Officer and opposing counsel no later than December
17   29, 2016;
18                      c.        The Presentence Report shall be filed with the court and
19   disclosed to counsel no later than January 5, 2017;
20                      d.        Motion for correction of the Presentence Report shall be filed
21   with the court and served on the Probation Officer and opposing counsel no later
22   than January 12, 2017; and
23                      e.         Reply or statement of non-opposition filed no later than
24   January 19, 2017.
25            4.        Based on the foregoing, the parties request that sentencing in this
26   matter be continued to January 26, 2017 at 9:30 a.m.
27   ///
28   ///
                                                                     2
                   Stipulation and Order Re Sentencing & For Issuance of Schedule for Disclosure for Presentence Report
       Case 2:15-cr-00235-TLN Document 208 Filed 10/07/16 Page 3 of 4


1    IT IS SO STIPULATED.

2    Dated: October 6, 2016                              SEGAL & ASSOCIATES, PC
3

4                                              By:       /s/ Malcolm Segal________________
                                                         MALCOLM SEGAL
5                                                        Counsel for Defendant
6

7    Dated: October 6, 2016                              BENJAMIN B. WAGNER
8
                                                         United States Attorney

9
                                               By:       /s/ Malcolm Segal for______________
10                                                       TODD PICKLES
11                                                       Assistant United States Attorney

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             Stipulation and Order Re Sentencing & For Issuance of Schedule for Disclosure for Presentence Report
       Case 2:15-cr-00235-TLN Document 208 Filed 10/07/16 Page 4 of 4


1                                                            ORDER

2            FOR THE REASONS SET FORTH ABOOVE, IT IS HEREBY ORDERED

3    that the sentencing hearing scheduled for December 1, 2016, is continued to

4    January 26, 2017, at 9:30 a.m. and that the schedule for disclosure of

5    Presentence Report and for filing of objections to the Presentence Report be

6    modified to accommodate the change of the date for the sentencing hearing as

7    follows:

8            a.        The Proposed Presentence Report shall be disclosed to counsel no

9    later than December 15, 2016;

10           b.        Counsel’s written objections to the Presentence Report shall be

11   delivered to the Probation Officer and opposing counsel no later than December

12   29, 2016;

13           c.        The Presentence Report shall be filed with the court and disclosed to

14   counsel no later than January 5, 2017;

15           d.        Motion for correction of the Presentence Report shall be filed with the

16   court and served on the Probation Officer and opposing counsel no later than

17   January 12, 2017; and

18           e.         Reply or statement of non-opposition filed no later than January 19,

19   2017.

20   October 6, 2016

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22                                                  ________________________________________
                                                    THE HONORABLE TROY L. NUNLEY
23                                                  UNITED STATES DISTRICT JUDGE
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                                                                    4
                  Stipulation and Order Re Sentencing & For Issuance of Schedule for Disclosure for Presentence Report
